      Case 1-17-43007-ess           Doc 29      Filed 10/17/17     Entered 10/17/17 13:59:20


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Rashmi Attri                                                               October 17, 2017
Associate


Via: ECF

Honorable Elizabeth S. Stong
United States Bankruptcy Judge
United States Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East – Courtroom 3585
Brooklyn, NY 11201
Tel. 347-394-1864

Re:     Angela Cove
        Case Number: 17-43007−ESS

Honorable Judge Elizabeth S. Stong:

Our office represents Angela Cove (the “Debtor”) in the above referenced action.

This letter is to withdraw Debtor’s request to enter the Loss Mitigation Program (Docket No. 16)
with respect to 118-82 Metropolitan Avenue, Kew Gardens, New York 11415, Loan No. ending with
9718 with FCI Lender Services (the “Creditor”).

The court is kindly requested to terminate the loss mitigation process because the Debtor is
withdrawing her Loss Mitigation Request.

I thank the Court for its kind attention in this matter.

Thanks.

/s/ Rashmi Attri
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Rashmi Attri
